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1    John R. Manning
     Attorney at Law
2    1111 H Street, Suite 204
     Sacramento, CA 95814
3    (916) 444-3994
     Fax (916) 447-0931
4    jmanninglaw@yahoo.com

5    Attorney for Defendant
     ELTON PADILLA
6

7                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9    UNITED STATES OF AMERICA,              )   Case No.: 2:19 CR 103 JAM
                                            )
10                       Plaintiff,         )   STIPULATION REGARDING EXCLUDABLE TIME
                                            )   PERIODS UNDER SPEEDY TRIAL ACT;
11   vs.                                    )   FINDINGS AND ORDER
                                            )
12   GARCIA et al.,                         )   Date:    October 22, 2019
                                            )   Time:    9:15 a.m.
13                       Defendants.        )   Judge:   Honorable John A. Mendez
                                            )
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15         The United States of America through its undersigned counsel, Vincenza

16   Rabenn, Assistant United States Attorney, together with counsel for defendant

17   Manuel Reyes, Philip Cozens, Esq., and counsel for defendant Elton Padilla,

18   John R. Manning, Esq., hereby stipulate the following:

19         1.   By previous order, this matter was set for status conference on

20   October 22, 2019.

21         2.   By this stipulation, the defendants now move to continue the status

22   conference until December 10, 2019 at 9:15 a.m., and to exclude time between

23   October 22, 2019 and December 10, 2019 under Local Code T-4 (to allow defense

24   counsel time to prepare).

25         3.   The parties agree and stipulate, and request the Court find the

26   following:

27              a.       Currently the United States has provided over 400 pages of

28                       discovery as well as 21 discs of audio/video.



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1      b.     Counsel for the defendants need additional time to review

2             the discovery, conduct investigation, interview potential

3             witnesses and discuss the relevant USSG calculations

4             (including application of Safety Valve and/or the First

5             Step Act) with their (respective) clients.

6      c.     Counsel for the defendants believe the failure to grant a

7             continuance in this case would deny defense counsel

8             reasonable time necessary for effective preparation, taking

9             into account the exercise of due diligence.

10     d.     The Government does not object to the continuance.

11     e.     Based on the above-stated findings, the ends of justice

12            served by granting the requested continuance outweigh the

13            best interests of the public and the defendants in a speedy

14            trial within the original date prescribed by the Speedy

15            Trial Act.

16     f.     For the purpose of computing time under the Speedy Trial

17            Act, 18 United States Code Section 3161(h)(7)(A) within

18            which trial must commence, the time period of October 22,

19            2019, to December 10, 2019, inclusive, is deemed

20            excludable pursuant to 18 United States Code Section

21            3161(h)(7)(A) and (B)(ii) and (iv), corresponding to Local

22            Code T-4 because it results from a continuance granted by

23            the Court at the defendants’ request on the basis of the

24            Court’s finding that the ends of justice served by taking

25            such action outweigh the best interest of the public and

26            the defendants in a speedy trial.

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1          4.   Nothing in this stipulation and order shall preclude a finding that

2    other provisions of the Speedy Trial Act dictate that additional time periods

3    are excludable from the period within which a trial must commence.

4          IT IS SO STIPULATED.

5
     Dated:   October 16, 2019                    /s/ John R. Manning
6                                                 JOHN R. MANNING
                                                  Attorney for Defendant
7                                                 Elton Padilla

8    Dated:   October 16, 2019                    /s/ Philip Cozens
                                                  PHILIP COZENS
9                                                 Attorney for Defendant
                                                  Manuel Reyes
10

11
     Dated:   October 16, 2019                    McGregor W. Scott
12                                                United States Attorney

13                                                /s/ Vincenza Rabenn
                                                  Vincenza Rabenn
14                                                Assistant United States Attorney

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16
                                          ORDER
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18        The Court, having received, read, and considered the stipulation of the

19   parties, and good cause appearing therefrom, adopts the stipulation of the

20   parties in its entirety as its order.

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22   IT IS SO FOUND AND ORDERED this 17th Day of October, 2019

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24                                                /s/ John A. Mendez________________
                                                  HONORABLE JOHN A. MENDEZ
25                                                UNITED STATES DISTRICT COURT JUDGE

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